                            UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF TENNESSEE
                                    AT KNOXVILLE


 UNITED STATES OF AMERICA                            )
                                                     )
                                                     )
                                                     )       No. 3:08-CR-46-3
 V.                                                  )       (PHILLIPS/SHIRLEY)
                                                     )
                                                     )
                                                     )
 VERONICA BELMARES                                   )
                                                     )

                        ORDER OF DETENTION PENDING TRIAL


                An initial appearance on a Criminal Complaint was held in this case on June

 13, 2008. Tracee Plowell Assistant United States Attorney, was present representing the

 government, and, Tracy Smith, was present representing the defendant. Upon motion of the

 government for detention stating there is a BICE detainer and counsel for the defendant

 stating that the defendant wished to waive her right to a detention hearing at this time but

 reserve the right to have a detention hearing at a later date, if appropriate, the defendant shall

 be detained. Pursuant to the defendant signing a Waiver of Detention Hearing, the defendant

 is to be detained. 18 U.S.C. § 3142(f)(2)(B). The government stated it had no objections.

  The defendant was present. For good cause, and by agreement of the defendant, this

 detention hearing is waived and the defendant is detained.

                The defendant is aware of her rights to a prompt detention hearing and to

 require the government to meet its burden of proving that no conditions of release exist



Case 3:08-cr-00046-TWP-CCS           Document 44         Filed 06/13/08    Page 1 of 2     PageID
                                          #: 103
 which will reasonably assure his appearance in court and the safety of the community. The

 defendant knows that if his detention hearing is waived he will remain in custody while it is

 continued. The defendant acknowledged in open court that he understands his rights and the

 consequences of waiving his detention hearing.

               For good cause shown, the defendant’s request not to contest, and to waive the

 detention hearing is hereby GRANTED.

               It is therefore ORDERED that:

               (1)    Defendant be detained.;

               (2)    Defendant be committed to the custody of the Attorney
                      General for confinement in a corrections facility separate, to
                      the extent practicable, from persons awaiting or serving
                      sentences or being held in custody pending appeal;

               (3)    Defendant be afforded reasonable opportunity for private
                      consultation with counsel; and

               (4)    On order of a court of the United States or on request of an
                      attorney for the government, the person in charge of the
                      corrections facility in which the defendant is confined
                      deliver the defendant to a United States marshal for the
                      purpose of an appearance in connection with any court
                      proceeding.


                                    ENTER:


                                             s/ C. Clifford Shirley, Jr.
                                           United States Magistrate Judge




                                              -2-


Case 3:08-cr-00046-TWP-CCS         Document 44       Filed 06/13/08    Page 2 of 2     PageID
                                        #: 104
